                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SK                                                 271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201



                                                   June 25, 2022

By ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Genaro Garcia Luna, et al.
                      Criminal Docket No. 19-576 (S-1) (BMC)

Dear Judge Cogan:

                The government hereby provides notice that earlier this week it filed—via the
Classified Information Security Officer—a supplemental submission in support of its previously
filed ex parte, classified motion for a protective order pursuant to the Classified Information
Procedures Act, Title 18, United States Code, Appendix III, Section 4, and Federal Rule of
Criminal Procedure 16(d)(1).


                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:      /s/
                                                   Saritha Komatireddy
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cc:    Counsel for Defendants (by ECF)
       Clerk of Court (BMC) (by ECF)
